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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

Kiesque, Incorporated                         )
                                              )
v.                                            )        Case No. 18-cv-7761
                                              )
THE PARTNERSHIPS and                          )        Judge: Hon. Charles P. Kocoras
UNINCORPORATED ASSOCIATIONS                   )
IDENTIFIED ON SCHEDULE “A”                    )        Magistrate: Hon. Mary M. Rowland
                                              )
                                              )

                                       Voluntary Dismissal

       Pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, the undersigned

counsel for plaintiff hereby notify this Court that the plaintiff, Kiesque Incorporated, voluntarily

dismiss any and all claims against defendants without prejudice:

 Doe           Store Name                         Merchant ID
 388           aiqiyi123                          58a2f267d3f55150f7a8815d
 445           exhibitionofxiang                  566942d72a5281269b0287df
 446           faithfulforever                    56f10d2d8306e707926874be
 451           fashionhome520                     561caa21e214c31edb0c3432
 452           fashionstoreforever                56162d6a89f45f256aa7dd63
 453           fastreach                          5847e66a68eb846982319df7
 483           jyqfashion                         56ea7f1d92940f5a500db152
 487           kingbaby                           56fce711830f296ea058ac25
 493           lakely                             5681075a9a609f2f203ca556
 519           mineshinesun                       57c7d8553018061c8fe5c847
 557           silvercream                        57bd54b14b56d67c20ea6b35
 573           topsellers                         55b85a040d6fd83b58533fa2
 574           tradingcenter                      561761e681d1ce0dbf5cc3d2
 580           walksontheways                     58ad61d98a58e15031508257
 588           willbeok                           56f10149e37f9158775294cb
 618           深圳市泰联辉科技有限公司                       5577cdcdc3ab512e59172e6c
 456 (625)     heavenhood                         577a34cdbe94bc74bf1d5655
 502           ljw                                59b3742130e1f37a9a81ca5c
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Dated: April 2, 2019
                                      Respectfully submitted,


                                      By:     s/David Gulbransen/
                                             David Gulbransen
                                             Attorney of Record

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